Case 2:04-cr-20265-STA Document 54 Filed 05/05/05 Page 1 of 2 Page|D 60

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

Plaintiff,

V. No. 04~20265-B/P

BRIAN BELL,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion for Discovery filed on May 3, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the

objections

rr ls so oRDEREI) this "t'j`kday of May, 2005.

 

J. DANIEL BREEN\
T D sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20265 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

